 1                                                                                     Honorable Marc L. Barreca
 2                                                                                                    Chapter 7
 3
 4
 5
 6
 7
 8
 9
10
11                                   UNITED STATES BANKRUPTCY COURT
12                                   WESTERN DISTRICT OF WASHINGTON
13
                                               AT SEATTLE
14
15
16     In re                                                   Case No. 14-10421-MLB
17
18     CASEY R. INGELS,
19                                        Defendant.
20
21
22
23
24
       JOHN S. PETERSON, as Bankruptcy Trustee,                Adversary No. 14-01387-MLB
25
26                                        Plaintiff,
27
28     vs.                                                     DEFENDANT’S TRIAL BRIEF
29
30     CASEY R. INGELS,
31
32
33
                                          Defendant.
34
35
36                    Casey R. Ingels, Defendant ("Mr. Ingels" or "Defendant"), by and through counsel,
37
38           J. Todd Tracy, Jamie J. McFarlane and The Tracy Law Group PLLC, hereby presents his trial
39
40
             brief.
41
42
43                                                 INTRODUCTION
44
45                    The Plaintiff, Chapter 7 Trustee John Peterson, has alleged that the Defendant
46
47           committed a false oath under Section 727(a)(4)(A) based upon statements the Defendant made

        DEFENDANT’S TRIAL BRIEF- 1
                                                                              720 Olive Way, Suite 1000
                                                                                  Seattle, WA 98101
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 1       at his 341 Meeting relating to the MJ Ray Ingels Irrevocable Trust. The Plaintiff’s Pretrial
 2
 3       Statement, Docket Entry #32, states the issue, “Did the Defendant knowingly and
 4
 5
 6
         fraudulently provide false statements under oath at the 341 meeting held on March 11, 2014,
 7
 8       regarding the funding of the MJ Ray Ingels Family Irrevocable Trust, property at 9830
 9
10       Dekoven Lakewood, Washington, transfers of property to and from the trust and to MJB
11
12       Consulting LLC and/or his knowledge of MJB Consulting, LLC?” The scope of the trial
13
14
15
         should be limited to the Plaintiff’s Pretrial Statement and the specific factual allegations in the
16
17       Plaintiff’s Complaint that the Defendant has had notice of in order to avoid any unfair prejudice
18
19       to the Defendant.
20
21               At the 341 Meeting, The Plaintiff and the Defendant found it very difficult to
22
23
24
         communicate with each other. The Plaintiff’s questioning was confusing, open-ended, and
25
26       vague. The Defendant repeatedly asked if his answers were clear and offered additional
27
28       information beyond the questions asked. The Defendant did his best to answer the questions
29
30       of the Plaintiff truthfully and clarify his answers once he could decipher what the Plaintiff was
31
32
33
         asking or realized that his answers could be perceived as untruthful. The Defendant did his
34
35       best to make sure he testified truthfully.
36
37               This adversary case, as alleged in the Plaintiff’s Complaint, is limited to the Defendant’s
38
39       answers at the 341 Meeting regarding the MJ Ray Ingels Irrevocable Trust. The Defendant has
40
41
42
         never held an interest in the MJ Ray Ingels Irrevocable Trust and the Defendant has never
43
44       served as trustee of the Irrevocable Trust.
45
46               At the 341 Meeting, the Defendant told the Plaintiff that the MJ Ray Ingels Irrevocable
47
         Trust was never funded based upon the lack of assets in the Irrevocable Trust with equity.
        DEFENDANT’S TRIAL BRIEF- 2
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 1       Only moments after stating the Irrevocable Trust had no assets and was not funded, without an
 2
 3       additional question posed by the Trustee, the Defendant clarified that the Irrevocable Trust had
 4
 5
 6
         no assets with equity available. He stated that the Irrevocable Trust held one parcel of real
 7
 8       property that has no equity available for creditors. This parcel of real property that was
 9
10       purchased and conveyed to the Irrevocable Trust in 2009 is not property of the bankruptcy
11
12       estate and the Plaintiff has no evidence to show otherwise.
13
14
15
                 The testimony of the Defendant will show that he had no incentive to commit fraud
16
17       based upon his lack of an interest in the Irrevocable Trust and the lack of equity in the real
18
19       property held by the Irrevocable Trust, especially, considering the likelihood of a default due to
20
21       fact that the entire principal balance was coming due on January 1, 2015. The audio recording
22
23
24
         of the 341 Meeting makes it clear that the Defendant clarified his response moments later
25
26       without additional questioning once he realized that the Trustee wanted to know about the
27
28       underwater property held by the Irrevocable Trust. The Defendant did not view the Dekoven
29
30       Property held by the Irrevocable Trust as an asset because he never held an interest in the
31
32
33
         Irrevocable Trust and there was no equity available in the Dekoven Property held by the
34
35       Irrevocable Trust.
36
37                                          UNDISPUTED FACTS
38
39               1. Mr. Ingels filed a Chapter 7 bankruptcy petition in this Court on January 23, 2014,
40
41
42
            under Case No. 14-10421-MLB.
43
44               2. The 341 examination was held on March 11, 2014 and no creditors were present.
45
46               3. After receiving two extensions of the objection to discharge deadline, the Chapter
47
         7 Trustee, John Peterson, filed an adversary complaint on September 29, 2015, under Case
        DEFENDANT’S TRIAL BRIEF- 3
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 1       No. 14-01387-MLB, alleging that Mr. Ingels made material misstatements in the 341
 2
 3       examination regarding the MJ Ray Ingels Irrevocable Trust, and asking the Court to deny a
 4
 5
 6
         discharge under 727(a)(4)(A) of the Bankruptcy Code.
 7
 8              4. The Defendant's Answer denies that he gave a false oath.
 9
10              5. The Plaintiff’s Pretrial Statement, Docket Entry #32, states the issue of law as
11
12       “Did the Defendant knowingly and fraudulently provide false statements under oath at the
13
14
15
         341 meeting held on March 11, 2014, regarding the funding of the MJ Ray Ingels Family
16
17       Irrevocable Trust, property at 9830 Dekoven Lakewood, Washington, transfers of property
18
19       to and from the trust and to MJB Consulting LLC and/or his knowledge of MJB Consulting,
20
21       LLC?
22
23
24
                5. Trial is set for June 8, 2015. The Trustee has listed only two witnesses: himself
25
26       and the Defendant.
27
28                          PERTINENT FACTS AND PROCEDURAL HISTORY.
29
30              Pre-bankruptcy background
31
32
33
                Mr. Ingels was formerly married to Gwendolyn J. McMurtrey; they were divorced on
34
35       June 8, 2009.   In 2009, after the divorce, the Defendant created the MJ Ray Ingels
36
37       Irrevocable Trust (" Irrevocable Trust") for the benefit of the couple's two young sons, as
38
39       required by the Decree of Dissolution.
40
41
42
                The Decree of Dissolution requires that eight properties be transferred into the
43
44       Irrevocable Trust for the boys' benefit. The Irrevocable Trust's goal was to use cash flow
45
46       from the properties to pay for the mortgages on two subsequent properties that the
47


        DEFENDANT’S TRIAL BRIEF- 4
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 1       Defendant and his ex-wife were in the process of purchasing for the benefit of the
 2
 3       Irrevocable Trust.
 4
 5
 6
                 On November 15, 2009, the Defendant created the Irrevocable Trust. Tricia Yue
 7
 8       was named the Trustee of the Irrevocable Trust, and M. Ingels and J. Ingels, the Defendant’s
 9
10       sons, were listed as beneficiaries of the Irrevocable Trust. As indicated in the Irrevocable
11
12       Trust, the Grantor, Casey Ingels, declared pursuant to the Irrevocable Trust language that
13
14
15
         the Irrevocable Trust cannot be revoked at any time by the Grantor. The Defendant
16
17       decided to use Tricia Yue as Trustee of the Irrevocable Trust based upon his experience with
18
19       her in the legal field while she was working as a paralegal for Jack Connelly at the Law
20
21       Offices of Gordon, Thomas, Honeywell, Malanca, Peterson & Daheim. Mr. Ingels met Ms.
22
23
24
         Yue while working as an attorney at the same firm. Based upon Ms. Yue’s experience in real
25
26       estate transfers, Mr. Ingels trusted her to properly transfer real property pursuant to the
27
28       Decree of Dissolution.
29
30               On December 3, 2009, by Special Warranty Deed, the Grantors of the Living Trust
31
32
33
         of James R. Paulson and Marijane L. Paulson (“Note Holders”) conveyed real property
34
35       located at 9830 Dekoven Dr. SW, Lakewood, Washington (“Dekoven Property”) to Tricia
36
37       Yue, as Trustee of the Irrevocable Trust. Mr. Ingels had no previous connection with the
38
39       Note Holders. In exchange for the Special Warranty Deed on the Dekoven Property, the
40
41
42
         Trustee of the Irrevocable Trust, Ms. Yue, executed a Deed of Trust for the Note Holders,
43
44       securing payment of $612,000.00 with interest due and payable in full on January 1, 2015,
45
46       and Mr. Ingels contributed a down payment in the amount of $68,000.00 in order to
47
         complete the purchase. Any interest Mr. Ingels had in the $68,000 down payment made in
        DEFENDANT’S TRIAL BRIEF- 5
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 1       2009 was lost the moment the Irrevocable Trust was granted the Dekoven Property. The
 2
 3       underlying promissory note (“Promissory Note”) required interest only payments until the
 4
 5
 6
         due date of January 1, 2015, leaving the entire principal balance due and payable on January
 7
 8       1, 2015. Mr. Ingels did not attend the closing of the Dekoven Property, nor did he sign any
 9
10       of the transfer documents, as he did not have any authority to do so, as he was not the
11
12       Trustee of the Irrevocable Trust. The total amount of secured debt owed against the
13
14
15
         Dekoven Property at the time of filing the underlying bankruptcy case was in excess of
16
17       $612,000.00 due to the fact that no principal payment amount was made on the Promissory
18
19       Note or required.
20
21               Addressing the other alleged property interest in the factual allegation made by the
22
23
24
         Plaintiff regarding MJB Consulting, in 2011, Kathryn Hanson created MJB Consulting, an
25
26       Idaho Limited Liability Company. The Debtor has no ownership interest in MJB
27
28       Consulting, LLC, and never has. The Debtor was not aware that MJB Consulting, LLC
29
30       transferred the Dekoven Property, only that the asset had been transferred to an LLC. The
31
32
33
         Debtor had performed consulting work for the MJB Consulting, LLC, as an independent
34
35       contractor.
36
37               The Defendant will testify that he never has been a beneficiary of the Irrevocable
38
39       Trust and never was in charge of the disposition of its assets. He will also testify that he has
40
41
42
         never had an interest in MJB Consulting, LLC. The Defendant did make interest only
43
44       payments on the Promissory Note that occurred more than two years prior to the
45
46       bankruptcy filing. As the Debtor’s financial situation worsened, he ceased making payments
47
         on the Promissory Note. The Defendant’s testimony will show that he had absolutely
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 1       nothing to gain from making the alleged false oath relating to his testimony about the
 2
 3       Irrevocable Trust, demonstrating that there was no fraudulent intent by the Defendant
 4
 5
 6
         relating to any alleged false oath.
 7
 8               Bankruptcy background
 9
10               The Defendant filed a Chapter 7 bankruptcy in this Court on January 23, 2014. Prior
11
12       to filing his bankruptcy case, the Defendant disclosed the existence of the Irrevocable Trust
13
14
15
         to his bankruptcy counsel, Noel Shillito. The Defendant did not list the Irrevocable Trust in
16
17       his original bankruptcy schedules based upon the advice of his counsel because he has never
18
19       held an interest in the Irrevocable Trust that was established in 2009. A 341 Meeting was
20
21       held on March 11, 2014. The Trustee asked the Defendant a number of questions about
22
23
24
         the Irrevocable Trust, including questions about transfers of property to and from the
25
26       Irrevocable Trust, and transfers to an LLC from the Irrevocable Trust.
27
28               Mr. Ingels answered the Trustee's questions truthfully, to the best of his ability. He
29
30       and the Trustee found it very difficult to communicate with each other. The Trustee asked
31
32
33
         whether the MJ Ray Irrevocable Trust had any assets, and the Defendant said "no," because
34
35       he had no financial interest in the DeKoven house, he wasn't a beneficiary of the Irrevocable
36
37       Trust, and he did not transfer the Dekoven house into the Irrevocable Trust. Without a
38
39       subsequent question posed, as part of the same answer to the Plaintiff’s question about
40
41
42
         whether the Irrevocable Trust had any assets, the Defendant clarified his response that the
43
44       Irrevocable Trust had real estate located in “Lakewood” and “the piece of property in
45
46       Lakewood has no equity in it.”
47


        DEFENDANT’S TRIAL BRIEF- 7
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 1              Six months after the creditors' exam, the Defendant learned that the manager of
 2
 3       MJB Consulting had transferred the Dekoven property to MJB Consulting on September 4,
 4
 5
 6
         2014 by quitclaim deed. As he stated at the 341 Meeting, Mr. Ingels did not know which
 7
 8       entity transferred the Dekoven Property, as he had no part in any of the transfers referenced
 9
10       by the Plaintiff. It was the Defendant’s understanding that the purpose of that transfer was
11
12       to allow Kathryn Hanson, who had started living in the Property and was making the
13
14
15
         payments, to have the benefit of those payments. As the Defendant explained at the 341
16
17       meeting, he and Ms. Hanson have a child together, but they are not in a personal
18
19       relationship. Once Ms. Hanson realized that she would not be able to meet the due date for
20
21       payment in full on the Promissory Note for the Dekoven Property, she then transferred the
22
23
24
         Dekoven Property back to the Irrevocable Trust. It is the Defendant’s understanding that
25
26       this transfer by MJB Consulting from the Irrevocable Trust and the transfer back to the
27
28       Irrevocable Trust by Ms. Hanson was never authorized by Ms. Yue, as Trustee of the
29
30       Irrevocable Trust.
31
32
33
                After receiving two extensions of the discharge deadline, on September 29, 2014, the
34
35       Trustee filed an adversary complaint against the Defendant, asking the Court to deny a
36
37       discharge under Section 727(a)(4)(a). He alleges that Defendant knowingly and fraudulently
38
39       gave a false oath or account at the creditors' exam, by making material misstatements about
40
41
42
         the funding of the Irrevocable Trust, the DeKoven property, transfers of the Property to
43
44       and from the Trust and to MJB Consulting, and about his knowledge of MJB Consulting.
45
46       Adversary Complaint, Para. 8.
47


        DEFENDANT’S TRIAL BRIEF- 8
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 1               The Defendant denies that he gave a “false oath” within the meaning of Section
 2
 3       727(a)(4)(A) at the 341 meeting.
 4
 5
 6
                                         DEFENDANT'S POSITION
 7
 8               1. The Defendant did not knowingly or fraudulently make a false oath or account.
 9
10       He answered the Trustee's questions truthfully at the 341 exam, and has done so throughout
11
12       the course of his bankruptcy. The Defendant had no incentive to fraudulently conceal an
13
14
15
         asset that he has never had an interest in, considering the fact that the asset had no equity
16
17       beyond the secured creditor’s interest with a balloon payment coming due on January 1,
18
19       2015 to the Note Holders that he could never satisfy and the Irrevocable Trust could never
20
21       satisfy due to its lack of funds.
22
23
24
                 2. The Defendant did not list the Irrevocable Trust’s Dekoven Property as an asset
25
26       on Schedule A, because it belonged to the Irrevocable Trust and he was not a beneficiary of
27
28       the Irrevocable Trust, nor could he ever be. The Chapter 7 Trustee asked Mr. Ingels
29
30       whether any assets were held by the Irrevocable Trust, and Mr. Ingels answered, “no” and
31
32
33
         then clarified the first part of his answer that the Irrevocable Trust had an underwater piece
34
35       of real property in Lakewood that he did not consider to be an asset. This clarification about
36
37       the Dekoven Property being held in the Irrevocable Trust was done without any subsequent
38
39       questions by the Trustee. The Trustee then asserted that the Irrevocable Trust did have
40
41
42
         assets. Mr. Ingels explained that he "misspoke then," because he did not believe that
43
44       underwater real property was an “asset,” since it lacked any equity available for creditors and
45
46       it was not part of his bankruptcy estate. At no time did the Plaintiff ask if the Defendant
47
         made a down payment on the Dekoven Property or how the Dekoven Property was
        DEFENDANT’S TRIAL BRIEF- 9
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 1        purchased. At the time of the bankruptcy filing, the Dekoven Property had a taxed assessed
 2
 3        value of $505,300.00 and an amount owing of at least $612,000.00. Ultimately, the trustee of
 4
 5
 6
          the Irrevocable Trust, Tricia Yue, executed a deed-in-lieu of foreclosure at the request of the
 7
 8        Note Holders due to the Irrevocable Trust’s inability to make payments due to a lack of
 9
10        funds and the entire principal balance of the Promissory Note being due.
11
12                4. When listening to the Defendant’s disjointed testimony at the 341 Meeting, it is
13
14
15
          important to note that Mr. Ingels is a Disabled Veteran. He suffered a traumatic brain injury
16
17        while serving with the U.S. Army Rangers, for which he received a substantial disability
18
19        rating from the Veterans Administration. He has received years of speech and cognitive
20
21        therapy. Although the Defendant often operates at a high level, his disability requires
22
23
24
          accommodation and can return under stress. The stress of the 341 exam may have added to
25
26        his difficulty in responding to the Trustee's questions in a manner that the Trustee
27
28        understood.
29
30                                               LEGAL ISSUE
31
32
33
                  Can the Trustee prove by a preponderance of the evidence, under 11 U.S.C. §
34
35        727(a)(4)(A), that the Defendant knowingly and fraudulently, in or in connection with the
36
37        case, made a false oath or account related to the MJ Ray Ingels Irrevocable Trust that would
38
39        except his debts from discharge?
40
41
42
                                                   ANALYSIS
43
44                Exceptions to dischargeability "should be strictly construed in order to serve the
45
46        Bankruptcy Act's purpose of giving Defendants a fresh start." 6 Collier on Bankruptcy
47
          ¶727.01[4] at 727-12, 16 ed. 2015, Resnick Alan N., Sommer Henry J. Section 727's denial
         DEFENDANT’S TRIAL BRIEF- 10
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 1        of discharge is construed liberally in favor of the Defendant and strictly against those
 2
 3        objecting to discharge. In re Adeeb, 787 F.2d 1339, 1342 (9th Cir. 1986).
 4
 5
 6
                  The burden of proof in an adversary proceeding objecting to discharge under §727 is
 7
 8        preponderance of evidence. Grogan v. Garner, 498 U.S. 279, 287-288, 112 L. Ed. 2d 755, 111
 9
10        S. Ct. 654 (1991); In re Cox, 41 F.3d 1294, 1297 (9th Cir. 1994).
11
12                "The reasons for denial of a discharge must be real and substantial rather than
13
14
15
          technical and conjectural[.]" 6 Collier on Bankruptcy ¶ 727.01[4], 727-12, Alan N. Resnick &
16
17        Henry J. Sommer, eds., 16th ed (2010).
18
19                 "[A] total bar to discharge is an extreme penalty." Ditto v. McCurdy, 510 F.3d 1070,
20
21        1079 (9th Cir. 2007), citing Rosen v. Bezner, 996 F.2d 1527, 1534 (3d Cir. 1993). Those
22
23
24
          objecting to discharge "bear[ ] the burden of proving by a preponderance of the evidence
25
26        that [the Defendant's] discharge should be denied." In re Retz, 606 F.3d 1189, 1196 (9th Cir.
27
28        2010), citing In re Khalil, 379 B.R. at 172.
29
30                The trustee cannot meet his burden of proof.
31
32
33
          A. THE TRUSTEE MUST ESTABLISH EACH OF THE FOUR ELEMENTS OF
34               727(a)(4) BY THE PREPONDERANCE OF THE EVIDENCE.
35
36                In order to prevail on a 727(a)(4) claim, the plaintiff must establish, by a
37
38        preponderance of the evidence, each of four elements: "(1) the Defendant made a false oath
39
40
          in connection with the case; (2) the oath related to a material fact; (3) the oath was made
41
42
43        knowingly; and (4) the oath was made fraudulently." In re Retz, 606 F.3d at 1197, 2010 (9th
44
45        Cir. Or. 2010).
46
47


         DEFENDANT’S TRIAL BRIEF- 11
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 1                "In keeping with the 'fresh start' purposes behind the Bankruptcy Code, courts
 2
 3        should construe §727 liberally in favor of Defendants and strictly against parties objecting to
 4
 5
 6
          discharge." In re Bernard, 96 F.3d 1279, 1281 (9th Cir. 1996). This does not alter the burden
 7
 8        on the objector, but rather means that "actual, rather than constructive, intent is required"
 9
10        on the part of the Defendant. In re Khalil, 379 B.R. 163, 172 (BAP 9th Cir. C.D. Cal. 2007).
11
12                While the creditor bears the ultimate burden of proof under 11 U.S.C.S. § 727(a)(4),
13
14
15
          once the creditor has demonstrated an omission or false statement, the burden shifts to the
16
17        debtor to show that the omission was the result of an honest mistake, or to otherwise
18
19        provide a credible explanation for the false statement. In re Ferre, 2006 Bankr. LEXIS 2833,
20
21        14 (Bankr. N.D. Cal. 2006).
22
23
24
                The Defendant Did Not Make a False Oath in Connection With the Case,
25                              Within the Meaning of §727(a)(4)(A).
26
27                The Plaintiff asserts that the Defendant made false statements at the creditors' exam
28
29        relating to the Irrevocable Trust. The Defendant strongly denies this. The Trustee asserts
30
31
          that, when he asked Mr. Ingels to disclose any trust that he had created, "the Defendant did
32
33
34        not do so until specifically asked about the MJ Ray Ingels Irrevocable Trust." Plaintiff''s
35
36        Response to Defendant's First Set of Interrogatories, Int. No. 1.
37
38                The Trustee asserts that the Defendant made the following statements, and that
39
40
          these statements were false:
41
42
43                The MJ Ray Ingels Trust was never funded or moved forward with.
44
45                Properties were to be placed in the trust but that has yet to happen due to lack of
46                equity in the properties.
47
                  The MJ Ray Ingels Trust never had any assets.
         DEFENDANT’S TRIAL BRIEF- 12
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 1
 2                The property in Lakewood does not have any equity in it.
 3
 4
                  The property was transferred by Tricia Yue to an LLC.
 5
 6
 7                The Trustee of the MJ Ray Ingels Trust has no relationship to the Defendant.
 8
 9                $680,000 is owed on the Lakewood Property.
10
11        Id.
12
13
                  The Trustee asserts that he knows, "from public documents," and the Defendant's
14
15
16        subsequent statements, that these statements were not true. Plaintiff's Response to
17
18        Defendant's Int. No. 2. His response does not state how he knows that these statements
19
20        were not true, or in what way they were not true. Conveniently, the Trustee ignores the
21
22
          majority of the Mr. Ingels’ answer to the question about whether the Irrevocable Trust had
23
24
25        any assets. Mr. Ingels clarified the first part of his answer that there were no assets in the
26
27        Irrevocable Trust by stating that the Trust did have a piece of real property in Lakewood
28
29        that had no equity in it.
30
31
                   Intent, under 727(a)(4)(A) "can be established by circumstantial evidence," and
32
33
34        "statements made with reckless indifference to the truth are regarded as intentionally false."
35
36        In re Korte, 262 B.R. 464, 474 (BAP 8th Cir. 2001). Thus, in Korte, the BAP affirmed the
37
38        bankruptcy court's denial of discharge under 727(a)(2) and (4). In that case, the Defendant's
39
40
          statements were untruthful because he failed to disclose, on his schedules and in his
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42
43        testimony at the first meeting of creditors, the interests which he retained in property that
44
45        was transferred to a trust. In Korte, the Defendant retained actual possession of much of that
46
47        property and continued to use it both personally and in his business after the case filing.

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 1                In contrast to Korte, Mr. Ingels' testimony at the 341 exam was truthful. Mr. Ingels
 2
 3        did disclose that the Irrevocable Trust held real property in Lakewood with no equity
 4
 5
 6
          available. While Mr. Ingels could have done a better job answering the questions in order to
 7
 8        create less confusion, he corrected himself during the same answer to the Trustee’s question
 9
10        about assets held by the Irrevocable Trust. Considering the allegations relating to the
11
12        specific testimony provided at the 341 exam by the Defendant, there were no misstatements
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14
15
          or omissions that would satisfy the first element required to be proven by a preponderance
16
17        of the evidence, a false oath.
18
19                In Olympic Coast Inv., Inc. v. Wright, 364 B.R. 51 (Bankr. D. Mont. 2007), a creditor
20
21        sought a denial of Defendants' discharge under § 727(a)(4)(A). The Defendants had testified
22
23
24
          they were not involved in certain businesses within six years preceding their Chapter 13
25
26        petition, and that they had transferred certain property. The bankruptcy court dismissed the
27
28        creditor's complaint. It noted that the businesses and assets from their Chapter 11 case,
29
30        which the Defendants had omitted from their original Chapter 13 petition, all involved
31
32
33
          defunct or valueless businesses. The court concluded that none of the omitted assets had
34
35        any value to the estate. At the 2004 exam, the creditor's counsel asked whether the
36
37        Defendant had an accountant with knowledge of his financial affairs, and Defendant had
38
39        answered "no." The creditor contended that Defendant made a false oath by failing to
40
41
42
          disclose the identity of his accountant, Dick Swenson. The bankruptcy court disagreed, and
43
44        held that the answer was not false. In re Wright, 364 B.R. at 77. The Defendant testified, at
45
46        the trial of the creditor's §727 complaint, that accountant Swenson had not been his
47
          accountant for years. The court noted that the creditor offered no other evidence that the
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 1        Defendant had an accountant with current knowledge of his finances. Therefore, the court
 2
 3        found it credible and reasonable for the defendant to answer "No" when asked if he
 4
 5
 6
          presently had an accountant. Id.
 7
 8                Furthermore, the creditor "did not show that it asked a logical follow-up question,
 9
10        such as "Have you ever hired an accountant?" Wright, 364 B.R. 77 "It was Larry's oath to
11
12        answer the question he was asked truthfully, and he did. The Court finds that OCI failed its
13
14
15
          burden to show that the third alleged oath was false, or that it was made knowingly and
16
17        fraudulently, or that it detrimentally affected the administration of the estate."
18
19                In Mr. Ingels case, he did not commit a false oath as he provided testimony at the
20
21        341 meeting that the Irrevocable trust had a piece of real estate located in Lakewood that
22
23
24
          had no equity in it. The Plaintiff in this case has not demonstrated that Mr. Ingels made a
25
26        false oath when considering the entirety of Mr. Ingels’ answers at the 341 Meeting to the
27
28        questions posed. If the Plaintiff wanted to know about more specifics about the Dekoven
29
30        Property held by the Irrevocable Trust and how it was purchased, he could have asked the
31
32
33
          appropriate question. Considering all of the testimony provided at the 341 Meeting, the
34
35        Plaintiff will be unable to satisfy the first element required under Section 727(a)(4)(A),
36
37        demonstrating a false oath was committed by a preponderance of the evidence.
38
39                The Trustee Cannot Show Materiality, within the Meaning of §727(a)(4)(A).
40
41
42
                  Section 727(a)(4)(A) requires that the relevant false oath relate to a material fact. In
43
44        re Retz, 606 F.3d 1189, 1198 (9th Cir. Or. 2010). An omission or misstatement that
45
46        "detrimentally affects administration of the estate" is material. Id.
47


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 1                  "Materiality is broadly defined. A fact is material if it bears a relationship to the
 2
 3        Defendant's business transactions or estate, or concerns the discovery of assets, business
 4
 5
 6
          dealings, or the existence and disposition of the Defendant's property." In re Wills, 243 B.R.
 7
 8        58, 62 (BAP 9th Cir. 1999). (Held: bankruptcy court erred by denying creditors' motion for
 9
10        summary judgment under 727(a)(4); case remanded for a determination of whether
11
12        Defendants' many false statements and whether omissions were material.
13
14
15
                    'The fundamental purpose of § 727(a)(4)(A) is to insure that the trustee and creditors
16
17        have accurate information without having to conduct costly investigations.' That said, a false
18
19        statement or omission that has no impact on a bankruptcy case is not material and does not
20
21        provide grounds for denial of a discharge under § 727(a)(4)(A)." In re Khalil, 379 B.R. 163,
22
23
24
          172 (BAP 9th Cir. 2007). 1
25
26                  Any alleged omissions or misstatements which Mr. Ingels made at the 341 meeting
27
28        were not material, because they did not detrimentally affect administration of his bankruptcy
29
30        estate. The Defandant disclosed the Dekoven Property at the Meeting of Creditors. The
31
32
33
          Defendant disclosed that the Dekoven Property had a note against it at the Meeting of
34
35        Creditors. The Plaintiff had the ability to request further information about the Dekoven
36
37        Property and the Irrevocable Trust based upon the testimony provided at the Meeting of
38
39        Creditors. The Trustee will be unable to demonstrate how the alleged misstatements or
40
41
42
          omissions were detrimental to the bankruptcy estate, considering the fact that the real
43
44        property held by the Irrevocable Trust was disclosed at the Meeting of Creditors.
45
46
47

          1
              Affirmed by In re Khalil, 578 F.3d 1167 (9th Cir. 2009).
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 1                At some point, a Chapter 7 Trustee needs to ask specific questions if he wants
 2
 3        answers beyond the disclosures required of a debtor. A Chapter 7 trustee’s failure to
 4
 5
 6
          exercise his duty to investigate and ask the proper follow-up questions should not result in a
 7
 8        finding that a debtor detrimentally affected the bankruptcy estate because he did not disclose
 9
10        more than what was asked or required of him.
11
12             The Trustee Cannot Show Knowledge within the Meaning of §727(a)(4)(A).
13
14
15
                  The third element required by § 727(a)(4)(A) is that the defendant acted knowingly in
16
17        making the false oath. In re Retz, 606 F.3d 1189 (9th Cir. 2010), citing In re Roberts, 331 B.R. at
18
19        882. A person acts "knowingly" if he or she acts deliberately and consciously. Roberts at 883-
20
21        884, citing BLACK'S LAW DICTIONARY 888 (8th ed. 2004).
22
23
24
                  "The requirement that the false statement be 'knowingly' made mandates
25
26        preponderating proof that the debtor acted 'deliberately and consciously.' An action is
27
28        careless if it is 'engaged in without reasonable care.' This is a negligence standard, not a
29
30        knowing misconduct standard. A false statement resulting from ignorance or carelessness
31
32
33
          does not rise to the level of 'knowing and fraudulent.' Roberts, 331 B.R. at 883.
34
35                In Roberts, the debtor failed to disclose rent, certain sale proceeds and certain assets
36
37        in his initial disclosure. After the creditor filed an objection to discharge, debtor amended
38
39        the statement to include the missing information, but the bankruptcy court denied a
40
41
42
          discharge under 727(a)(4). The BAP reversed, on two grounds. First, the bankruptcy court
43
44        didn't find that the material nondisclosures in the debtor's statement were knowing. Second,
45
46        the bankruptcy court didn't find that the debtor had an intention to defraud; therefore, it
47
          didn't find that he made his nondisclosures "knowingly." Id. at 884.
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 1                In this case, as in Roberts, the Defendant did not knowingly make a false oath. Mr.
 2
 3        Ingels will testify that he answered the Trustee's questions truthfully, to the best of his
 4
 5
 6
          ability, and that any mistakes, misstatements or omissions were made without knowledge.
 7
 8        Mr. Ingels believed that he was testifying truthfully and clarified his responses to make sure
 9
10        that they were truthful.
11
12                Mr. Ingel’s case is also similar to Meer v. Lilly, 2012 Bankr. LEXIS 5817 (Bankr. D.
13
14
15
          Id. 2012). In Meer, a creditor had sued the debtor in a separate federal district court action,
16
17        but debtor failed to list the claim on his bankruptcy schedules. Creditor filed a complaint
18
19        under 727(a)(4), arguing that the omission was a false statement. The bankruptcy court
20
21        disagreed and granted the debtor a discharge because he had amended his schedules to
22
23
24
          disclose the lawsuit. "While some of the statements might be technically false or in error,
25
26        none appear to be material under all the facts and circumstances. More importantly, even if
27
28        the statements were material, Plaintiff failed to prove the assertedly false or incomplete
29
30        statements were made knowingly and fraudulently." Meer v. Lilly at 5817-5818.
31
32
33
                  In Rafsanjani v. Kuchecki, 2010 Bankr. LEXIS 5045 (BAP 9th Cir. 2010), the
34
35        bankruptcy court dismissed the creditor's objections to discharge even though there were
36
37        numerous errors and deficiencies in the petition and schedules. For example, Defendant
38
39        listed no vehicles on Schedule B although at the time he leased a 2004 Mercedes Benz;
40
41
42
          owned a second, older, Mercedes and owned a third car that was inoperable.
43
44                The BAP affirmed. It held that the Defendant's incorrect statements were not
45
46        knowing and fraudulent, because "almost all the inaccuracies were corrected within a
47


         DEFENDANT’S TRIAL BRIEF- 18
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 1        reasonable time and, considering Defendant's relatively forthright answers given at the
 2
 3        §341(a) meeting, no inference of fraudulent intent can be taken." Id. at 8.
 4
 5
 6
                    In Mr. Ingels’ case, the alleged misstatements were clarified at the 341 Meeting
 7
 8        within moments after he made the alleged statements and without any further questions
 9
10        being posed. Based upon the testimony provided by Mr. Ingels at the 341 Meeting, the
11
12        Plaintiff will be unable to show that Mr. Ingels knowingly made the alleged misstatements.
13
14
15
              The Trustee Cannot Show Fraudulent Intent within the Meaning of §727(a)(4)(A).
16
17                  Section 727(a)(4)(A) "specifically requires that the debtor make a false oath or
18
19             account'knowingly and fraudulently.'"In re Khalil, 379 B.R. 163, 174 (9th Cir. BAP 2007). 2
20
21                  To demonstrate fraudulent intent, plaintiffs bear the burden of showing that: (1) the
22
23
24
          debtor made a false statement or omission in bankruptcy schedules; (2) at the time the
25
26        debtor knew they were false; and (3) the debtor made them with the intention and purpose
27
28        of deceiving the creditors." In re Retz, 606 F.3d 1189, 1198-1199 (9th Cir. 2010). (Court of
29
30        Appeals affirmed the denial of debtor's discharge. Debtor made many false oaths on his
31
32
33
          Schedules and SOFA; the false oaths related to material facts, and they were made knowingly
34
35        and fraudulently.)
36
37                  In contrast to Retz, the bankrtupcy court in Roberts failed to find that the debtor acted
38
39        fraudulently. The debtor omitted certain assets from his schedules, but amended the
40
41
42
          schedules to include the missing information after the creditor objected to discharge. The
43
44        bankruptcy court denied a discharge, but the BAP reversed. It held that the bankruptcy
45
46
47

          2
              Affirmed by 578 F.3d 1167 (9th Cir. 2009).
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 1        court erred because it did not find that the material nondisclosures in the debtor's statement
 2
 3        were knowing, and did not find that he intended to defraud.
 4
 5
 6
                  "The intent required for finding that the debtor has acted fraudulently under §
 7
 8        727(a)(4)(A) with respect to a false oath must be actual intent: constructive fraudulent intent
 9
10        cannot be the basis for the denial of a discharge." Roberts, 331 B.R. 876, 884, citing In re
11
12        Devers, 759 F.2d 751, 753 (9th Cir. 1985).
13
14
15
                  Mr. Ingels’ testimony at the 341 Meeting and actions in this case do not satisfy the
16
17        fraud element required under Section 727(a)(4)(A). Mr. Ingels did his best to clarify his
18
19        responses and offered more information to the Trustee than he was asked about. Mr. Ingles
20
21        had no incentive to hinder, delay, or defraud creditors regarding the underwater Dekoven
22
23
24
          Property that he had no interest in. There was a balloon payment coming due on January 1,
25
26        2015, on the Promissory Note and the Irrevocable Trust did not have the ability to make
27
28        payments so it was only a matter of time before it would be lost to foreclosure. Ultimately,
29
30        Tricia Yue, as trustee of the Irrevocable Trust, executed a Deed-in-Lieu of Foreclosure due
31
32
33
          to the default under the Promissory Note. The Defendant had nothing to gain from the
34
35        alleged false oaths, indicating his lack of fraudulent intent.
36
37                Another case addressing the fraud element, In Baker v. Mereshian, 200 B.R. 342 (BAP
38
39        9th Cir. Cal. 1996), the Defendants owed a creditor significant legal debts when they
40
41
42
          declared bankruptcy. The year before, the debtor husband, a real estate broker, transferred
43
44        several pieces of real estate encumbered by debt to the secured creditors. Defendants failed
45
46        to list the transfers on their schedules, but revealed all transfers to the creditor's
47
          representative at a meeting of creditors. The bankruptcy court dismissed the creditor's §727
         DEFENDANT’S TRIAL BRIEF- 20
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 1        complaint. The BAP affirmed, holding that the creditor failed to prove that the Defendants
 2
 3        had a fraudulent intent when they transferred real estate to other creditors before the
 4
 5
 6
          bankruptcy.
 7
 8                In Mr. Ingels’ case, there was no failure to disclose a transfer to a trust in his
 9
10        schedules or in answering the questions posed by the Trustee at the Meeting of Creditors.
11
12        At the 341 Meeting, Mr. Ingels did disclose why the Irrevocable Trust was setup, the fact
13
14
15
          that he did not hold an interest in the Irrevocable Trust, and the fact that the Irrevocable
16
17        Trust held a piece of real property located in Lakewood that had no equity in it.
18
19                The Mereshian Court cited the holding of In re Adeeb, 787 F.2d 1339, 1342 (9th Cir.
20
21        1986)(stating that "discharge of debts may be denied under Section 727(a)(2)(A) only upon a
22
23
24
          finding of actual intent to hinder, delay, or defraud creditors"). In this case, it is clear that
25
26        there is no intent to hinder, delay, or defraud creditors on the part of the Defendant, as he
27
28        did not have any interest in the Irrevocable Trust and the property held by the Irrevocable
29
30        Trust had no value. The Defendant had no incentive to hinder, delay, or defraud creditors
31
32
33
          regarding the underwater property held by the Irrevocable Trust.
34
35                Mereshian also cited 4 Collier on Bankruptcy, P 727.04[1] at 727-59 (15th ed. 1996)
36
37        (stating that to deny a discharge under Section 727(a)(4), "the statement must contain matter
38
39        which the Defendant knew to be false and the Defendant must have included them willfully
40
41
42
          with intent to defraud"). And Mereshian cited the holding that "Fraudulent intent may be
43
44        established by circumstantial evidence, or by inferences drawn from a course of conduct."
45
46        Devers, 759 F.2d 751, 753-54 (9th Cir. Mont. 1985). Thus, a court may look to all the
47
          surrounding facts and circumstances. 4 Collier, supra, P 727.02[3] at 727-16-17.
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 1                Over the course of the Meeting of Creditors, the Defendant asked if his answers
 2
 3        were clear or if the Trustee understood his answers in an effort to make sure the Trustee had
 4
 5
 6
          what he needed after the Defendant clarified his testimony. This does not indicate conduct
 7
 8        that the Defendant was attempting to hide or conceal assets held by the Irrevocable Trust.
 9
10        Considering all of the Defendant’s testimony at the 341 Meeting, the Plaintiff will be unable
11
12        to demonstrate that the Defendant had the requisite fraudulent intent needed to satisfy a
13
14
15
          claim under Section 727(a)(4)(A).
16
17                                              CONCLUSION
18
19                The Defendant respectfully requests the Court grant the Defendant a discharge. Mr.
20
21        Ingels answered the Trustee's questions truthfully at the 341 Exam and clarified any
22
23
24
          inaccurate answers promptly. The Trustee cannot meet his burden of proving, by a
25
26        preponderance of the evidence, that the Defendant knowingly and fraudulently, in or in
27
28        connection with the case, made a false oath or account that would except his debts from
29
30        discharge.
31
32
33
                  For the reasons stated above, the Defendant respectfully requests that the Court
34
35        dismiss the Plaintiff's Complaint with prejudice; and grant a discharge to the Defendant.
36
37
38                RESPECTFULLY SUBMITTED THIS this 1st day of June 2015.
39
40
41
42
                                       THE TRACY LAW GROUP PLLC
43
44
45                               By __/s/Jamie McFarlane__________________
46                                        Jamie J. McFarlane, WSBA #41320
47                                     Attorneys for Defendant Casey R. Ingels

         DEFENDANT’S TRIAL BRIEF- 22
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